6/3/2018                                         Correspondent
                       Case 18-32106 Document 178-7    Filed inBanks
                                                                 TXSB- Zenith
                                                                           onBank
                                                                              06/06/18 Page 1 of 5


                                                                                 SEARCH             (/)




   Correspondent Banks
   Zenith Bank has established correspondent banking
   relationships with banks outside Nigeria. All
   international transactions are routed through the
   networks of the following correspondent banks.


     Zenith Bank (/)       About Us (/about-us/)      Correspondent Banks




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6/3/2018                                      Correspondent
                    Case 18-32106 Document 178-7    Filed inBanks
                                                              TXSB- Zenith
                                                                        onBank
                                                                           06/06/18 Page 2 of 5

   International Banking Partners.
      Australia and New Zealand Bank, London
      BNP Paribas, Paris
      Citibank N.A., New York
      Citibank N.A., London
      Commerzbank Ag, Frankfurt
      Deutsche Bank, London
      Fortis Bank, London
      HSBC Bank Plc, South Africa
      JP Morgan Chase Bank New York
      JP Morgan Chase Bank London
      Zenith Bank (UK) Limited, London




   Related Links

      Business Focus (/about-us/business-focus/)

      Corporate Governance (/about-us/corporate-governance/)

      Credit Ratings (/investor-relations/credit-rating/)


      Board of Directors (/about-us/board-of-directors-2/)

      Chairman’s Statement (/about-us/chairmans-statement/)

      CEO’s Speech (/about-us/ceos-speech/)


      Management Team (/about-us/management-team-2/)

      Zenith News (/media/news/)

      Careers (/about-us/careers/)




https://www.zenithbank.com/about-us/correspondent-banks/                                          2/5
6/3/2018                                          Correspondent
                        Case 18-32106 Document 178-7    Filed inBanks
                                                                  TXSB- Zenith
                                                                            onBank
                                                                               06/06/18 Page 3 of 5
   PRODUCT ADVERT




         Scan to Pay - How to Register As a Customer




   CUSTOMER
   SERVICES

   Help Center
   (/customer-
   service/#contact-
   us)
   Whistle Blower
   (https://realtime.zenithbank.com/externalwhistleblower/AnonymousEntry/AnonymousEntry/)
   Dispense Error
   (/resolve-atm-pos-
   issues/)
   Frequently Asked
   Questions
   (/customer-
   service/faqs/)
   Contact Us
   (/customer-
   service/#contact-
   us)
   Locate a Branch /
   ATM (/customer-
   service/ﬁnd-a-
   branch-atm/)
   Downloads
   (/customer-
   service/downloads/)


   PROTECT
   YOURSELF

   Scam Alert
   (/customer-
   service/#protect-
   yourself)
   Replace Your Card
   (/card-amendment-
   form/)


https://www.zenithbank.com/about-us/correspondent-banks/                                              3/5
6/3/2018                                           Correspondent
                         Case 18-32106 Document 178-7    Filed inBanks
                                                                   TXSB- Zenith
                                                                             onBank
                                                                                06/06/18 Page 4 of 5
   Internet Banking
   Security
   (/customer-
   service/#protect-
   yourself)
   Email Fraud and
   Phishing
   (/customer-
   service/#protect-
   yourself)
   Card Security
   (/customer-
   service/#protect-
   yourself)
   Online Security
   (/customer-
   service/#protect-
   yourself)
   Bank Veriﬁcation
   Number (BVN)
   (/personal-
   banking/bank-
   veriﬁcation-
   number/)


   QUICK LINKS

   Realtime Access
   (https://realtime.zenithbank.com/DotNetRealtime/)
   POS Settlement
   Viewer
   (https://realtime.zenithbank.com/possettlementreportviewer/LogIn.aspx)
   Zenith Trade Portal
   (https://corpchannellive.zenithbank.com:9443/portal)
   Visa Online
   (https://tb.emp-
   group.com:9081/)
   Request Cheque
   Book (/request-
   cheque-book/)
   Reactivate Dormant
   Account
   (/reactivate-
   dormant-account/)
   Letter of Credit
   Application Form
   (/letter-of-credit-

https://www.zenithbank.com/about-us/correspondent-banks/                                               4/5
6/3/2018                                          Correspondent
                        Case 18-32106 Document 178-7    Filed inBanks
                                                                  TXSB- Zenith
                                                                            onBank
                                                                               06/06/18 Page 5 of 5
   application-form/)
   Travel Notiﬁcation
   Portal
   (https://www.zenithbank.com/travel-
   notiﬁcation/)


   NEWS

   Nigeria's largest bank by
   Customer Deposit
   (/media/news/nigerias-largest-
   bank-by-customer-deposit/)

   Jim Ovia at CHOGM 2018
   (/media/news/jim-ovia-at-
   chogm-2018/)

   Inside Zenith
   (/media/news/inside-zenith/)

   AAI Collaborates with Covenant
   University for the Jim Ovia
   Foundation Leaders Scholarship
   (/media/news/aai-collaborates-
   with-covenant-university-for-the-
   jim-ovia-foundation-leaders-
   scholarship/)

   Jim Ovia: Fintech and the Future
   of the Nigerian Banking Industry
   (/media/news/jim-ovia-ﬁntech-
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